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UNITED STATES DISTRICT COURT MAY 16 2011
EASTERN DISTRICT OF MICHIGAN CLERK'S OFFICE
SOUTHERN DIVISION U.S. DISTRICT COURT
EASTERN MICHIGAN
UNITED STATES OF AMERICA,

CRIMINAL NO. 11-20293

. HON. ARTHUR J. TARNOW
-vVS-
OFFENSE: 18 U.S.C. § 1954
D-2. WALTER RALPH MABRY,
STATUTORY MAXIMUM PENALTIES:
Up to 3 years in prison
Defendant. Up to $250,000 fine
Up to 1 year of Supervised Release
/

RULE 11 PLEA AGREEMENT

Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, defendant Walter Ralph
Mabry and the government agree as follows:
1. GUILTY PLEA

A. Count of Conviction

Defendant will enter a plea of guilty to the sole count of the Superseding Information, which
charges him with agreeing to receive a thing of value while being a trustee and fiduciary of an
employee pension plan because of his actions concerning the operations of the employee pension
plan, in violation of 18 U.S.C. § 1954, and for which the penalty is a maximum of up to three years
imprisonment, a maximum fine of up to $250,000, a special assessment of $100, and up to one year
of supervised release.

B. Elements of Offense

The elements of the offense that the government would need to prove beyond a reasonable

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doubt at trial are:

From April 2004 through September 2006, in the Eastern District of Michigan, and elsewhere
the defendant did: (1) with respect to an employee pension benefit plan subject to Title I of the
Employee Retirement Income Security Act of 1974; (2) receive, or agree to receive, a kickback, gift,
or thing of value; (3) while a trustee and fiduciary of the employee pension benefit plan; (4) because
of his actions or decisions relating to matters before the employee pension benefit plan; and (5) the
defendant acted knowingly and unlawfully.

Cc. Factual Basis for Guilty Plea

The following facts are a sufficient and accurate basis for the defendant’s guilty plea:

From April 2004 through September 2006, the defendant was the Executive Secretary-
Treasurer of the Michigan Regional Council of Carpenters (“MRCC”), a labor union representing
carpenters in the state of Michigan. Sometime in or about 1955, the MRCC had sponsored and
created a pension fund known as the Carpenters Pension Trust Fund — Detroit and Vicinity. Since
at least January 2001 and up through September 2006, the defendant served as the Chairman of the
Board of Trustees of the Carpenters Pension Trust Fund. The Carpenters Pension Trust Fund was
an employee pension benefit plan subject to the provisions of Title I of ERISA. The MRCC and the
Carpenters Pension Trust Fund were both headquartered in the Eastern District of Michigan.
Between April 2004 and September 2006, John Orecchio was an executive at AA Capital Partners,
an investment manager for the Carpenters Pension Trust Fund who had been retained by the Trustees
of the fund. During that same period of time, Joseph Roxlyn Jewett was. the President of J&R

Ventures, a company that provided consulting services to AA Capital Partners in connection with

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the Carpenters Pension Trust Fund’s investment in a gambling casino in Biloxi, Mississippi.
Between April 2004 and September 2006, the defendant received more than $5,000, but less than
$10,000, in hotel and entertainment expenses from Orecchio and Jewett. Orecchio and Jewett paid
for the defendant’s hotel and entertainment expenses because of the defendant’s position and duties
in the MRCC and on the Board of Trustees of the Carpenters Pension Trust Fund. The monies paid
for the expenses did not come from the MRCC or the pension fund, but came from the personal
funds of Jewett and Orecchio or from the funds of J&R Ventures and AA Capital Partners. The
MRCC, the Carpenters Pension Trust Fund, and the Millwrights Supplemental Pension Plan did not
lose any money as a result of the payment of expenses by Orecchio and Jewett as set forth above.
The defendant asserts that he did not regard the payment of his expenses by Orecchio and Jewett as
kickbacks, but instead he believed that they were comping his expenses in Las Vegas because of his
positions in the MRCC.

D. Disputed Sentencing Issue

Although not necessary to establish the factual basis for a guilty plea to a violation of 18
U.S.C. § 1954, the government further contends, and the defendant denies, that as part of the relevant
conduct for the defendant’s offense, the defendant agreed to receive from Orecchio and Jewett a
$266,000 investment in the Xyience Company because of the defendant’s actions in connection with
AA Capital Partners and J&R Ventures. The parties acknowledge that the government has the
burden of proof in establishing this sentencing factor, and that this issue will have to be resolved at
the time of the sentencing hearing in this case.

The parties are in agreement that the defendant did not receive any investment monies or any

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2.

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consideration from the Xyience Company.

SENTENCING GUIDELINES

A, Standard of Proof

The Court will find sentencing factors by a preponderance of the evidence.
B. Agreed Guideline Range

The parties do not agree as to the applicable sentencing guideline range.

The government recommends that the Court determine that the defendant’s guideline range

is 15 to 21 months (one year and three months to one year and nine months), as set forth on the

attached worksheets. The defendant recommends that the Court determine that his guideline range

is 0 to 6 months, as set forth on the attached worksheet addendum. The Court is not bound by either

party’s recommendation concerning the guideline range, and defendant understands that he will have

no right to withdraw his guilty plea if the Court does not follow his recommendation.

If the Court finds:

a) that defendant’s criminal history category is higher than reflected on the attached
worksheets, or

b) that the offense level should be higher because, after pleading guilty, defendant
made any false statement to or withheld information from his probation officer;
otherwise demonstrated a lack of acceptance of responsibility for his offense(s); or

obstructed justice or committed any crime,

and if any such finding results in a guideline range higher than is recommended by the parties, then

the higher guideline range becomes each party’s recommended range. However, if the Court finds

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that defendant is a career offender, an armed career criminal, or a repeat and dangerous sex offender
as defined under the sentencing guidelines or other federal law, and that finding is not already
reflected in the attached worksheets, this paragraph does not authorize a corresponding increase in
the agreed range.

Neither party may take a position concerning the applicable guidelines that is different than
any position of that party as reflected in the attached worksheets, except as necessary to the Court’s
determination regarding subsections a) and b), above.

3. SENTENCE

The Court will impose a sentence pursuant to 18 U.S.C. § 3553, and in doing so must consider
the sentencing guideline range.

A. Imprisonment

Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C), the sentence of imprisonment
in this case may not exceed the top of the sentencing guideline range, that is, the guideline range
found by the Court in resolving the dispute between the parties as described in Paragraph 2B.

B. Supervised Release

A term of supervised release, if imposed, follows the term of imprisonment. There is no
agreement on supervised release. In other words, the Court may impose any term of supervised
release up to the statutory maximum term, which in this case is 1 year. The agreement concerning
imprisonment described above in Paragraph 3A does not apply to any term of imprisonment that

results from any later revocation of supervised release.

Cc, Special Assessment
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Defendant will pay a special assessment of $100 and must provide the government with a
receipt for the payment before sentence is imposed.

D. Fine

The Court may impose a fine on each count of conviction in any amount up to $250,000.

E. Concurrent Sentence

Pursuant to U.S.S.G. § 5G1.3(c), the government agrees to recommend that the sentence in
this case run concurrently to the sentence that the defendant is currently serving in Case No. 04-
80977-Friedman as discussed between the counsel of the parties.

4. OTHER CHARGES

If the Court accepts this agreement, the government will not bring additional charges against
the defendant based on any of the conduct reflected in the attached worksheets or in anyway
connected to the Biloxi casino project or any other matter concerning John Orecchio, AA Capital
Partners, Joseph Jewett, or J&R Ventures.

5. Each Party’s Right To Withdraw From This Agreement

The government may withdraw from this agreement if the Court finds the correct guideline
range to be different than is determined by Paragraph 2B.

Defendant may withdraw from this agreement, and may withdraw his guilty plea, if the Court
decides to impose a sentence higher than the maximum allowed by Part 3. This is the only reason for
_ which defendant may withdraw from this agreement. The Court shall advise defendant that ifhe does
not withdraw his guilty plea under this circumstance, the Court may impose a sentence greater than

the maximum allowed by Part 3.
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WAIVER OF RIGHT TO APPEAL

If the sentence imposed does not exceed the maximum allowed by Part 3 of this agreement,
defendant waives any right he has to appeal his conviction or sentence. Ifthe sentence imposed is
within the guideline range determined by Paragraph 2B the government agrees not to appeal the
sentence, but retains its right to appeal any sentence below that range.

7. CONSEQUENCES OF WITHDRAWAL OF GUILTY PLEA OR VACATION OF CONVICTION

If defendant is allowed to withdraw his guilty plea or ifany conviction entered pursuant to this
agreement is vacated, the Court shall, on the government’s request, reinstate any charges that were
dismissed as part of this agreement. If additional charges are filed against defendant within six
months after the date the order vacating defendant's conviction or allowing him to withdraw his guilty
plea becomes final, which charges relate directly or indirectly to the conduct underlying the guilty
plea or to any conduct reflected in the attached worksheets, defendant waives his right to challenge
the additional charges on the ground that they were not filed in a timely manner, including any claim
that they were filed after the limitations period expired.

8. PARTIES TO PLEA AGREEMENT

Unless otherwise indicated, see Paragraph 11, this agreement does not bind any government
agency except the United States Attorney’s Office for the Eastern District of Michigan.
9. SCOPE OF PLEA AGREEMENT

This agreement, which includes all documents that it explicitly incorporates, is the complete
agreement between the parties. It supersedes all other promises, representations, understandings, and

agreements between the parties concerning the subject matter of this plea agreement that are made

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at any time before the guilty plea is entered in court. Thus, no oral or written promises made by the
government to defendant or to the attorney for defendant at any time before defendant pleads guilty
are binding except to the extent they have been explicitly incorporated into this agreement.
10. STANDARD OF PROOF

The parties recognize that under current Sixth Circuit precedent, the Court can find sentencing
factors by a preponderance of the evidence at a sentencing hearing. Notwithstanding the provisions
of Paragraphs 1.D. and 2.A., the defendant may seek to challenge sentencing findings by the Court
should this Sixth Circuit precedent be overturned by a decision of the Supreme Court.
11. PENSION ISSUES

As part of this agreement, the Department of Labor--Office of Inspector General shall supply
a written document agreeing that it will not initiate an investigation of, nor seek the seizure of, the
defendant’s pension that he receives from the MRCC and his International Business Agent’s Pension,
as a result of any of the conduct reflected in the attached worksheets or in anyway connected to the
Biloxi casino project, and that the monies used for payment of expenses as set forth above in

Paragraph 1.C. did not come from the Carpenters Pension Trust Fund or the MRCC.
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12.

ACCEPTANCE OF AGREEMENT BY DEFENDANT
This plea offer expires unless it has been received, fully signed, in the Office of the United
States Attorney by 5:00 P.M. on March 21, 2011. The government reserves the right to modify or

revoke this offer at any time before defendant pleads guilty.

nited States Attorney Assistant United States Attorney

Chief, Special Prosecutions Unit
Date: CS - | $- }]

By signing below, defendant acknowledges that he has read (or been read) this entire
document, understands it, and agrees to its terms. He also acknowledges that he is satisfied with his
Sentat, ion. Defendant agrees that he has had a full and complete

er, and has had all of his questions answered by his lawyer.

ARTHUR JAY WEISS
Attorney for Defendant Defendant

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WORKSHEET A_ (Offense Levels)

Defendant: Walter Ralph Mabry Count(s): __ Count 1

Docket No: ___11-CR-20293 ~ Statute(s) _18 USC § 1954

Complete one Worksheet A for each count of conviction (taking into account relevant conduct and treating each stipulated offense as a separate
count of conviction) before applying the multiple-count rules in U.S.S.G. ch. 3, pt. D. However, in any case involving multiple counts of con-
viction, if the. counts of conviction are all “closely related” to each other within the meaning of U.S.S.G. § 3D1.2(d), complete only a single
Worksheet A.

1. BASE OFFENSE LEVEL AND SPECIFIC OFFENSE CHARACTERISTICS (U.S.S.G. ch. 2)

Guideline Section Description Levels
2E5.1(a)(2) Accepting a gratuity affecting an ERISA plan
nu
2E5.1(b)0 Defendant was a fiduciary of the ERISA plan
+12
2E5.1(b)(2) Value of the prohibited payment—more than $200,000 : Licensee
-4
5H1.1 & 5H1.4 Physical condition and age of the defendant

2. ADJUSTMENTS (U.S.S.G. ch. 3, pts. A, B, C)

Guideline Section Description _ Levels

|

3. ADJUSTED OFFENSE LEVEL

Enter the sum of the offense levels entered in Items 1 and 2. If this Worksheet A does not cover every count
of conviction (taking into account relevant conduct and treating each stipulated offense as a separate count of
conviction), complete one or more additional Worksheets A and a single Worksheet B.

He Hee he fe oe is oie fs oe fe oft oe fe of 2 os ok oie oe

If this is the only Worksheet A, check this box and skip Worksheet B.

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If the defendant has no criminal history, check this box and skip Worksheet C.
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WORKSHEET B_ (Multiple Counts)
Instructions (U.S.S.G. ch. 3, pt. D):

e Group the counts of conviction into distinct Groups of Closely Related Counts. “All counts involving
substantially the same harm shall be grouped together into a single Group.” (See U.S.S.G. § 3D1.2.)

e Determine the offense level applicable to each Group. (See U.S.S.G. § 3D1.3.)
° Determine the combined offense level by assigning “units” to each Group as follows (see U.S.S.G. § 3D1.4):

* assign | unit to the Group with the highest offense level,

* assign | unit to each additional Group that is equally serious as, or 1 to 4 levels less serious than, the Group
with the highest offense level,

* assign 4 unit to each Group that is 5 to 8 levels less serious than the Group with the highest offense level,

* assign no units to each Group that is 9 or more levels less serious than the Group with the highest offense

level.
1. GROUP ONE: COUNTS unit
ADJUSTED OFFENSE LEVEL Nissin
I
2. GROUP Two: COUNTS unit
ADJUSTED OFFENSE LEVEL Nid
——
3. GROUP THREE: COUNTS oe unit
ADJUSTED OFFENSE LEVEL Licsiciienieemesail
4, GrRouP FOUR: COUNTS 4 unit
ADJUSTED OFFENSE LEVEL
5. TOTAL UNITS . units

6. INCREASE IN OFFENSE LEVEL

|

1 unit > no increase 2%-3 units — add 3 levels
1% units > add 1 level 3%-5 units —@ add 4 levels
2 units > add 2 levels >5 levels -> add 5 levels

7. ADJUSTED OFFENSE LEVEL OF GROUP
WITH THE HIGHEST OFFENSE LEVEL

8. COMBINED ADJUSTED OFFENSE LEVEL

Enter the sum of the offense levels entered in Items 6 and 7.

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WORKSHEET C_ (Criminal History)

Date of defendant’s commencement of the instant offense (taking into account relevant conduct and stipulated
offenses): April 2006

1. PRIOR SENTENCES

Prior Sentence of Imprisonment Exceeding 13 Months (U.S.S.G. §§ 4A1.1(a)): 3. POINTS

Enter 3 points for each prior adult sentence of imprisonment exceeding one year and one month that either (1) was imposed within 15 years
of the defendant's commencement of the instant offenses (taking into account relevant conduct and stipulated offenses) or (2) resulted in
the defendant’s confinement during any part of that 15-year period. (See U.S.S.G. §§ 4A1.1(a), 4A1.2(d)(1), (e)(1).)

Prior Sentence of Imprisonment of at Least 60 Days (U.S.S.G. §§ 4A1.1(b)): 2 POINTS

Enter 2 points for each prior sentence of imprisonment of at least 60 days not counted under U.S.S.G. § 4A1.1(a) that either (1) resulted
from an offense committed after the defendant turned 18 and was imposed within 10 years of the defendant’s. commencement of the instant
offense (taking into account relevant conduct and stipulated offenses) (see U.S.S.G. §§ 4A1.1(b), 4A1,2(e)(2)) or (2) resulted from an
offense committed before the defendant turned 18 and resulted in the defendant’s confinement during any part of the 5-year period
preceding the defendant’s commencement of the instant offense (see U.S.S.G. §§ 4A1.1(b), 4A1.2(d)(2)(A)).

Other Prior Sentences (U.S.S.G. §§ 4A1.1(c)): 1 POINT

Enter | point for each prior sentence not counted under U.S.S.G. § 4A1.1(a) or (b) that either (1) resulted from an offense committed after
the defendant turned 18 and was imposed within 10 years of the defendant’s commencement of the instant offense (taking into account
relevant conduct and stipulated offenses) (see U.S.S.G. §§ 4A1.1(c), 4A1.2(e)(2)) or (2) resulted from an offense committed before the
defendant turned 18 and was imposed within 5 years of the defendant’s commencement of the instant offense (taking into account relevant
conduct and stipulated offenses) (see U.S.S.G. §§ 4A1.1(c), 4A1.2(d)(2)(B)). NOTE: No more than 4 points may be added under this

‘item.
Date of Release
Imposition Status* Offense Sentence Date** Points
Li 3
Sept. 2006 Taft-Hartley violation 24 months onl

=

* Ifthe defendant committed the offense before turning 18, indicate whether he or she was sentenced as a juvenile (J) or as an adult (A).

** A release date is required in only three situations: (1) when a sentence covered under U.S,S.G. § 4A1.1(a) was imposed more than 15 years
before the defendant’s commencement of the instant offense (taking into account relevant conduct and stipulated offenses) but resulted in his or her
confinement during any part of that 15-year period; (2) when a sentence counted under U.S.S.G. § 4A1.1(b) was imposed for an offense com-mitted
before the defendant turned 18 but resulted in his or her confinement during any part of the 5-year period preceding his or her commence-ment of the
instant offense (taking into account relevant conduct and stipulated offenses); and (3) when 2 criminal history points are added pur-suant to U.S.S.G.
§ 4A1.1(e) because the defendant committed the instant offense (taking into account relevant conduct and stipulated offenses) shortly after or during
imprisonment resulting from a sentence counted under U.S.S.G. § 4A1.1(a) or (b) or while he or she was on escape status for such a sentence.

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(WORKSHEET C, p. 2)

COMMISSION OF INSTANT OFFENSE WHILE UNDER PRIOR SENTENCE (U.S.S.G. §
4A1.1(d))

Enter 2 points if the defendant committed any part of the instant offense (taking into account relevant conduct and stipulated offenses)
while under any criminal justice sentence having a custodial or supervisory component, including probation, parole, supervised release,
imprisonment, work release, and escape status. (See U.S.S.G. §§ 4A1.1(d), 4A1.2(m), (n).) List the type of control and identify the

sentence from which it resulted.

3. COMMISSION OF INSTANT OFFENSE SHORTLY AFTER OR DURING IMPRISONMENT
(U.S.S.G. § 4A1.1(e))

Enter 2 points if the defendant committed any part-of the instant offense (taking into account relevant conduct and stipulated offenses)
either less than 2 years after release from imprisonment on a sentence counted under U.S.S.G. §§ 4A1.1(a) or 4A1.1(b) or while in
imprisonment or escape status on such a sentence. However enter, only | point for this item if 2 points were added under Item 2. (See
ULS.S.G. §§ 4A1.1(e), 4A1.2(n).) List the date of release and identify the sentence from which it resulted.

4, PRIOR SENTENCE RESULTING FROM CRIME OF VIOLENCE (U.S.S.G. § 4A1.1(f))

Enter | point for each prior sentence resulting from a conviction for a crime of violence that did not receive any points under U.S.S.G. §
4A1.1(a), (b), or (c) because such sentence was considered related to another sentence resulting from a conviction for a crime of violence.
But enter no points where the sentences are considered related because the offenses occurred on the same occasion. (See U.S.S.G, §§
4A1.1(f), 4A1.2(p).) Identify the crimes of violence and briefly explain why the cases are considered related. NOTE: No more than 3
points may be added under this item.

5. TOTAL CRIMINAL HISTORY POINTS

Enter the sum of the criminal history points entered in Items 1-4.

6. CRIMINAL HISTORY CATEGORY

Total Criminal History Points Criminal History Category

0-1 I
2-3 I
4-6 Il
7-9 IV
10-12 Vv
> 13 VI

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WORKSHEET D_ (Guideline Range)

(COMBINED) ADJUSTED OFFENSE LEVEL

Enter the adjusted offense level entered in Item 3 of Worksheet A or the combined adjusted offense level
entered in Item 8 of Worksheet B.

2. ADJUSTMENT FOR ACCEPTANCE OF RESPONSIBILITY (U.S.S.G § 3E1.1)

3. TOTAL OFFENSE LEVEL

Enter the difference between Items 1 and 2.

4, CRIMINAL HISTORY CATEGORY

Enter “I” if the defendant has no criminal history. Otherwise, enter the criminal history category
entered in Item 6 of Worksheet C.

5. CAREER OFFENDER / CRIMINAL LIVELIHOOD / ARMED CAREER CRIMINAL
(U.S.S.G. ch. 4, pt. B)

a. Total Offense Level: If the career offender provision (U.S.S.G, § 4B1.1), the criminal livelihood provision
(U.S.S.G. § 4B1.3), or the armed career criminal provision (U.S.S.G. § 4B1.4) results in a total offense
level higher than the total offense level entered in Item 3, enter the higher offense level total.

b. Criminal History Category: Ifthe career offender provision (U.S.S.G. § 4B1.1) or the armed career criminal
provision (U.S.S.G, § 4B1.4) results in a criminal history category higher than the criminal history category
entered in Item 4, enter the higher criminal history category.

6. GUIDELINE RANGE FROM SENTENCING TABLE (U.S.S.G. ch. 5, pt. A)

Enter the guideline range in the Sentencing Table (see U.S.S.G. ch. 5, pt. A) produced by the total 15-21 months
offense level entered in Item 3 or 5.a and the criminal history category entered in Item 4 or 5.b.

7. STATUTORY RESTRICTIONS ON OR SUPERSESSION OF GUIDELINE RANGE

If the maximum sentence authorized by statute is below, or a minimum sentence required by statute months
is above, the guideline range entered in Item 6, enter either the guideline range as restricted by

statute or the sentence required by statute. (See U.S.S.G. § 5G1.1.) If the sentence on any count of

conviction is required by statute to be consecutive to the sentence on any other count of conviction,

explain why.

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WORKSHEET E_ (Authorized Guideline Sentences)

1. | PROBATION (U.S.S.G. ch. 5, pt. B)

a. Imposition of a Term of Probation (U.S.S.G. § 5B1.1)

1. Probation is not authorized by the guidelines (minimum of guideline range > 6 months or statute of
x conviction is a Class A or a Class B felony). If this box is checked, go to Item 2 (Split Sentence).

2. Probation is authorized by the guidelines (minimum of guideline range = zero months).

3. Probation is authorized by the guidelines, provided the court imposes a condition or combination of
conditions requiring intermittent confinement, community confinement, or home detention satisfying
the minimum of the guideline range (minimum of guideline range > 0 months but < 6 months).

b. Length of Term of Probation (U.S.S.G. § 5B1.2)

1. Atleast 1 year but not more than 5 years (total offense level > 6).

| 2. No more than 3 years (total offense level < 6).

c. Conditions of Probation (U.S.S.G. § 5B1.3)

The court must impose certain conditions of probation and may impose other conditions of probation.

2. SPLIT SENTENCE (U.S.S.G. § 5C1.1(c)(2), (d)(2))

a. A split sentence is not authorized (minimum of guideline range = 0 months or > 10 months).

b. A split sentence is authorized (minimum of guideline range > 0 months but < 10 months). The court
may impose a sentence of imprisonment that includes a term of supervised release with a condition
that substitutes community confinement or home detention for imprisonment, provided that at least
one-half of the minimum of the guideline range is satisfied by imprisonment (if the minimum of the
guideline range is 8, 9, or 10 months), or that at least one month is satisfied by imprisonment (if the
minimum of the guideline range is 1, 2, 3, 4, or 6 months). The authorized length of the term of
supervised release is set forth below in Item 4.b

3. | IMPRISONMENT (U.S.S.G. ch. 5, pt. C)

A term of imprisonment is authorized by the guidelines if it is within the applicable guideline range
(entered in Item 6 of Worksheet D). (See U.S.S.G. § 5C1.1.)

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(WORKSHEET E, p. 2)

SUPERVISED RELEASE (U.S.S.G. ch 5., pt. D)

a. Imposition of a Term of Supervised Release (U.S.S.G. § 5D1.1)

The court must impose a term of supervised release if it imposes a term of imprisonment of more
than one year, or if it is required to do so by statute. The court may impose a term of supervised
release if it imposes a term of imprisonment of one year or less.

b. Length of Term of Supervised Release (U.S.S.G. § 5D1.2)

] 1. Atleast 3 years but not more than 5 years, where the count of conviction is a Class A or a Class B
J felony, i.e., an offense carrying a maximum term of imprisonment = 25 years.
2. At least 2 years but not more than 3 years, where the count of conviction is a Class C or a Class D
felony, i.e., an offense carrying a maximum term of imprisonment > 5 years but < 25 years.
3. 1 year, where the count of conviction is a Class E felony or a Class A misdemeanor, i.e., an offense
x carrying a maximum term of imprisonment > 6 months but <5 years.

4, The statute of conviction requires a minimum term of supervised release of months.

c. Conditions of Supervised Release (U.S.S.G. § 5D1.3)

The court must impose certain conditions of supervised release and may impose other conditions of
supervised release.

5. RESTITUTION (U.S.S.G. § 5E1.1)

1. The court will determine whether restitution should be ordered and in what amount.

x
2. Full restitution to the victim(s) of the offense(s) of conviction is required by statute. (See, e.g., 18
U.S.C. §§ 3663A, 2327.) The parties agree that full restitution is $
3. The parties agree that the court may order restitution to the victim(s) of the offense(s) of conviction
in any amount up to and including $ . (See 18 U.S.C, §§ 3663(a)(3).)

4. The parties agree that the court may also order restitution to persons other than the victim(s) of the
offense(s) of conviction. (See 18 U.S.C. §§ 3663(a)(1)(A), 3663A(a)(3).)

5. Restitution is not applicable.

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(WORKSHEET E, p. 3)

FINE (U.S.S.G. § 5E1.2)

a. Fines for Individual Defendants
The court must impose a fine unless “the defendant establishes that he [or she] is unable to pay and is not
likely to become able to pay any fine.” (See U.S.S.G. § 5E1.2(a).) Generally, the fine authorized by the

guidelines is limited to the range established in the Fine Table. (See U.S.S.G. § 5E1.2(b).) However, there
are exceptions to this general rule. (See U.S.S.G. § 5E1.2(b), (c)(4).)

b. Fine Range from Fine Table (U.S.S.G. § 5E1.2(c)(3))

Minimum Fine Maximum Fine

$___ $3,000 $__ $30,000

7. SPECIAL ASSESSMENT(S) (U.S.S.G. § 5E1.3)

The court must impose a special assessment on every count of conviction. The special assessments for individual
defendants are

$100.00 for every count charging a felony ($50.00 if the offense was completed before April 24, 1996)
$ 25.00 for every count charging a Class A misdemeanor,

$ 10.00 for every count charging a Class B misdemeanor, and

$ 5.00 for every count charging a Class C misdemeanor or an infraction.

The defendant must pay a special assessment or special assessments in the total amount of $ $100

8. ADDITIONAL APPLICABLE GUIDELINES, POLICY STATEMENTS, AND STATUTES

List any additional applicable guideline, policy statement, or statute.

9. UPWARD OR DOWNWARD DEPARTURE (U.S.S.G. ch. 5, pts. H & K)

List any applicable aggravating or mitigating circumstance that might support a term of imprisonment above or
below the applicable guideline range.__ See above

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WORKSHEET A (Offense Levels)—Defense Version

Defendant: Walter Ralph Mabry Count(s): _ Count 1

Docket No.: 11-CR-20293 Statute(s) _18 USC § 1954

Complete one Worksheet A for each count of conviction (taking into account relevant conduct and treating each stipulated offense as a separate
count of conviction) before applying the multiple-count rules in U.S.S.G. ch. 3, pt. D. However, in any case involving multiple counts of con-
viction, if the counts of conviction are all “closely related” to each other within the meaning of U.S.S.G. § 3D1.2(d), complete only a single
Worksheet A.

1. | BASE OFFENSE LEVEL AND SPECIFIC OFFENSE CHARACTERISTICS (U.S.S.G. ch. 2)

Guideline Section Description Levels
6
2E5.1(a)(2) Accepting a gratuity affecting an ERISA plan [is _|
+2
2E5.1(b)(1) Defendant was a fiduciary of the ERISA plan all
+2
2E5.1(b)(2) Value of the prohibited payment—more than $5,000 and less [2]
$10,000 4
5H1.1 & 5H1.4 Physical condition and age of the defendant

2. ADJUSTMENTS (U.S.S.G. ch. 3, pts. A, B, C)

Guideline Section Description

conviction), complete one or more additional Worksheets.A and a single Worksheet B.

He ee eo 2 oe oe KOR OR KK

If this is the only Worksheet A, check this box and skip Worksheet B.

Levels
hi
3. ADJUSTED OFFENSE LEVEL
Enter the sum of the offense levels entered in Items 1 and 2. If this Worksheet A does not cover every count
of conviction (taking into account relevant conduct and treating each stipulated offense as a separate count of

If the defendant has no criminal history, check this box and skip Worksheet C.

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WORKSHEET B_ (Multiple Counts)
Instructions (U.S.S.G. ch. 3, pt. D):

e Group the counts of conviction into distinct Groups of Closely Related Counts. “All counts involving
substantially the same harm shall be grouped together into a single Group.” (See U.S.S.G. § 3D1.2.)

e Determine the offense level applicable to each Group. (See U.S.S.G. § 3D1.3.)
e Determine the combined offense level by assigning “units” to each Group as follows (see U.S.S.G. § 3D1.4):

* assign | unit to the Group with the highest offense level,

* assign | unit to each additional Group that is equally serious as, or 1 to 4 levels less serious than, the Group
with the highest offense level,

* assign % unit to each Group that is 5 to 8 levels less serious than the Group with the highest offense level,

* assign 29 units to each Group that is 9 or more levels less serious than the Group with the highest offense

level.
1. GROUP ONE: COUNTS unit
ADJUSTED OFFENSE LEVEL iil
TT
2. GROUP Two: COUNTS “unit
ADJUSTED OFFENSE LEVEL i
SE
3. GROUP THREE: COUNTS unit
ADJUSTED OFFENSE LEVEL .
4, GROUP FOUR: COUNTS unit
ADJUSTED OFFENSE LEVEL
5. TOTAL UNITS units

6. INCREASE IN OFFENSE LEVEL

l unit > no increase 2%-3 units > add 3 levels |
1% units > add 1 level 3%-5 units > add 4 levels

2 units > add 2 levels >5 levels > add 5 levels

7. ADJUSTED OFFENSE LEVEL OF GROUP
WITH THE HIGHEST OFFENSE LEVEL

8. COMBINED ADJUSTED OFFENSE LEVEL

Enter the sum of the. offense levels entered in Items 6 and 7.

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WORKSHEET C_ (Criminal History)

ate of defendant’s commencement of the instant offense (taking into account relevant conduct and stipulated
offenses): April 2006

1. PRIOR SENTENCES

Prior Sentence of Imprisonment Exceeding 13 Months (U.S.S.G. §§ 4A1.1(a)): 3 POINTS

Enter 3 points for each prior adult sentence of imprisonment exceeding one year and one month that either (1) was imposed within 15 years
of the defendant's commencement of the instant offenses (taking into account relevant conduct and stipulated offenses) or (2) resulted in
the defendant’s confinement during any part of that 15-year period. (See U.S.S.G. §§ 4A1.1(a), 4A1.2(d)(1), (e)(1).)

Prior Sentence of Imprisonment of at Least 60 Days (U.S.S.G. §§ 4A1.1(b)): 2 POINTS

Enter 2 points for each prior sentence of imprisonment of at least 60 days not counted under U.S.S.G. § 4A1.1(a) that either (1) resulted
from an offense committed after the defendant turned.18 and was imposed within 10 years of the defendant’s commencement of the instant
offense (taking into account relevant conduct and stipulated offenses) (see U.S.S.G. §§ 4A1.1(b), 4A1.2(e)(2)) or (2) resulted from an
offense committed before the defendant turned 18 and resulted in the defendant’s confinement during any part of the 5-year period
preceding the defendant’s commencement of the instant offense (see U.S.S.G. §§ 4A1.1(b), 4A1.2(d)(2)(A)).

‘Other Prior Sentences (U.S.S.G. §§ 4A1.1(c)): 1 POINT

Enter 1 point for each prior sentence not counted under U.S.S.G. § 4A1.1(a) or (b) that either (1) resulted from an offense committed after
the defendant turned 18 and was imposed within 10 years of the defendant’s commencement of the instant offense (taking into account
relevant conduct and stipulated offenses) (see U.S.S.G. §§ 4A1.1(c), 4A1.2(e)(2)) or (2) resulted from an offense committed before the
defendant turned 18 and was imposed within 5 years of the defendant’s commencement of the instant offense (taking into account relevant
conduct and stipulated offenses) (see U.S.S.G. §§ 4A1.1(c), 4A1.2(d)(2)(B)).. NOTE: No more than 4 points may be added under this

item.
Date of Release
Imposition Status* Offense Sentence Date** Points
Loi. 3
Sept. 2006 Taft-Hartley violation 24 months

>

* If the defendant committed the offense before turning 18, indicate whether he or she was sentenced as a juvenile (J) or as an adult (A).

** A release date is required in only three situations: (1) when a sentence covered under U.S.S.G. § 4A1.1(a) was imposed more than 15 years
before the defendant’s commencement of the instant offense (taking into account relevant conduct and stipulated offenses) but resulted in his or her
confinement during any part of that 15-year period; (2) when a sentence counted under U.S.S.G. § 4A1.1(b) was imposed for an offense com-mitted
before the defendant turned 18 but resulted in his or her confinement during any part of the 5-year period preceding his or her commence-ment of the
instant offense (taking into account relevant conduct and stipulated offenses); and (3) when 2 criminal history points are added pur-suant to U.S.S.G.
§ 4A1.1(e) because the defendant committed the instant offense (taking into account relevant conduct and stipulated offenses) shortly after or during
imprisonment resulting froma sentence counted under U.S.S.G. § 4A1.1{a) or (b) or while he or she was on escape status for such a sentence.
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4A1.1(d))

COMMISSION OF INSTANT OFFENSE WHILE UNDER PRIOR SENTENCE (U.S.S.G.

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C, p. 2)

§

Enter 2 points if the defendant committed any part of the instant offense (taking into account relevant conduct and stipulated offenses)

while under any criminal justice sentence having a custodial or supervisory component, including probation, parole, supervised

release,

imprisonment, work release, and escape status. (See U.S.S.G. §§ 4A1.1(d), 4A1.2(m), (n).) List the type of control and identify the

sentence from which it resulted.

ES

COMMISSION OF INSTANT OFFENSE SHORTLY AFTER OR DURING IMPRISONMENT

(U.S.S.G. § 4A1.1(e))

Enter 2 points if the defendant committed any part of the instant offense (taking into account relevant conduct and stipulated offenses)
either less than 2 years after release from imprisonment on a sentence counted under U.S.S.G. §§ 4A1.1(a) or 4A1.1(b) or while in
imprisonment or escape status on such a sentence. However enter, only | point for this item if 2 points were added under Item 2. (See

U.S.S.G. §§ 4A1.1(e), 4A1.2(n).) List the date of release and identify the sentence from which it resulted.

PRIOR SENTENCE RESULTING FROM CRIME OF VIOLENCE (U.S.S.G. § 4A1.1(f))

Enter | point for each prior sentence resulting froma conviction for a crime of violence that did not receive any points under U.

8.S.G. §

4A]. 1(a), (b), or (c) because such sentence was considered related to another sentence resulting from a conviction for a crime of violence.

But enter no points where the sentences are considered related because the offenses occurred on the same occasion. (See U.S.S.

G. §§

4AL.1(f), 4A1.2(p).) Identify the crimes of violence and briefly explain why the cases are considered related. NOTE: No more than 3

points may be added under this item.

—

TOTAL CRIMINAL HISTORY POINTS

Enter the sum of the criminal history points entered in Items 1-4. eg

CRIMINAL HISTORY CATEGORY

Total Criminal History Points Criminal History Category

0-1 I
2-3 I
4-6 Il
7-9 IV
10-12 Vv
z 13 VI

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entered in Item 4, enter the higher criminal history category.

6.

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WORKSHEET D_ (Guideline Range)

(COMBINED) ADJUSTED OFFENSE LEVEL :
Enter the adjusted offense level entered in Item 3 of Worksheet A or the combined adjusted offense level ,
entered in Item 8 of Worksheet B.
ADJUSTMENT FOR ACCEPTANCE OF RESPONSIBILITY (U.S.S.G § 3E1.1)
2
TOTAL OFFENSE LEVEL
4

Enter the difference between Items 1 and 2.

CRIMINAL HISTORY CATEGORY

Enter “T” if the defendant has.no criminal history. Otherwise, enter the criminal history category
entered in Item.6 of Worksheet C.

CAREER OFFENDER / CRIMINAL LIVELIHOOD / ARMED CAREER CRIMINAL
(U.S.S.G. ch. 4, pt. B)

a. Total Offense Level: Ifthe career offender provision (U.S.S.G. § 4B1.1), the criminal livelihood provision
(U.S.S.G. § 4B1.3), or the armed career criminal provision (U.S.S.G. § 4B1.4) results in a total offense
level higher than the total offense level entered in Item 3, enter the higher offense level total.

b. Criminal History Category: If the career offender provision (U.S.S.G. § 4B1.1) or the armed career criminal
provision (U.S.S.G. § 4B1.4) results in a criminal history category higher than the criminal history category

GUIDELINE RANGE FROM SENTENCING TABLE (U.S.S.G. ch. 5, pt. A)

Enter the guideline range in the Sentencing Table (see U.S.S.G. ch. 5, pt. A) produced by the total 0-6 months
offense level entered in Item 3 or 5.a and the criminal history category entered in Item 4 or 5.b.

STATUTORY RESTRICTIONS ON OR SUPERSESSION OF GUIDELINE RANGE

If the maximum sentence authorized by statute is below, or a minimum sentence required by statute months

is above, the guideline range entered in Item 6, enter either the guideline range as restricted by
statute or the sentence required by statute. (See U.S.S.G. § 5G1.1.) Ifthe sentence on any count of
conviction is required by statute to be consecutive to the sentence on any other count of conviction,
explain why.

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a.
x I.
2.
3.

Rani
b.
| 1
| 2.
c.

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WORKSHEET E_ (Authorized Guideline Sentences)

PROBATION (U.S.S.G. ch. 5, pt. B)

Imposition of a Term of Probation (U.S.S.G. § 5B1.1)

Probation is not authorized by the guidelines (minimum of guideline range > 6 months or statute of
conviction is a Class A or a Class B felony). If this box is checked, go to Item 2 (Split Sentence).

Probation is authorized by the guidelines (minimum of guideline range = zero months).

Probation is authorized by the guidelines, provided the court imposes a condition or combination of
conditions requiring intermittent confinement, community confinement, or home detention satisfying
the minimum of the guideline range (minimum of guideline range > 0 months but < 6 months).

Length of Term of Probation (U.S.S.G. § 5B1.2)
At least | year but not more than 5 years (total offense level > 6).

No more than 3 years (total offense level < 6).

Conditions of Probation (U.S.S.G. § 5B1.3)

The court must impose certain conditions of probation and may impose other conditions of probation.

2. SPLIT SENTENCE (U.S.S.G. § 5C1.1(¢)(2), (d)(2))

a.

A split sentence is not authorized (minimum of guideline range = 0 months or > 10 months).

A split sentence is authorized (minimum of guideline range > 0 months but < 10 months). The court
may impose a sentence of imprisonment that includes a term of supervised release with a condition
that substitutes community confinement or home detention for imprisonment, provided that at least
one-half of the minimum of the guideline range is satisfied by imprisonment (if the minimum of the
guideline range is 8, 9, or 10 months), or that at least one month is satisfied by imprisonment (if the
minimum of the guideline range is 1, 2, 3, 4, or 6 months). The authorized length of the term of
supervised release is set forth below in Item 4.b

3. IMPRISONMENT (U.S.S.G. ch. 5, pt. C)

A term of imprisonment is authorized by the guidelines if it is within the applicable guideline range
(entered in Item 6 of Worksheet D). (See U.S.S.G. § 5C1.1.)

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(WORKSHEET E, p. 2)

SUPERVISED RELEASE (U.S.S.G. ch 5., pt. D)

a. Imposition of a Term of Supervised Release (U.S.S.G. § 5D1.1)

The court must impose a term of supervised release if it imposes a term of imprisonment of more
than one year, or if it is required to do so by statute. The court may impose a term of supervised
release if it imposes a term of imprisonment of one year or less.

b. Length of Term of Supervised Release (U.S.S.G. § 5D1.2)

1. Atleast 3 years but not more than 5 years, where the count of conviction is a Class A or a Class B
felony, i.e., an offense carrying a maximum term of imprisonment 2 25 years.

2. Atleast 2 years but not more than 3 years, where the count of conviction is a Class C or a Class D
felony, i.e., an offense carrying a maximum term of imprisonment > 5 years but < 25 years.

occetititanienel
3. 1 year, where the count of conviction is a Class E felony or a Class A misdemeanor, i.e., an offense.
X carrying a maximum term of imprisonment > 6 months but < 5 years.
4, The statute of conviction requires a minimum term of supervised release of months.
Determine

c. Conditions of Supervised Release (U.S.S.G. § 5D1.3)

The court must impose certain conditions of supervised release and may impose other conditions of
supervised release.

5, RESTITUTION (U.S.S.G. § SE1.1)

1. The court will determine whether restitution should be ordered and in what amount. —

2. Full restitution to the victim(s) of the offense(s) of conviction is required by statute. (See, e.g., 18
U.S.C. §§ 3663A, 2327.) The parties agree that full restitution is $

3. The parties agree that the court may order restitution to the victim(s) of the offense(s) of conviction
in any amount up to and including $ . (See 18 U.S.C. §§ 3663(a)(3).)

4. The parties agree that the court may also order restitution to persons other than the victim(s) of the
offense(s) of conviction. (See 18 U.S.C. §§ 3663(a)(1)(A), 3663A(a)(3).)

5. Restitution is not applicable.

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~ (WORKSHEET E, p. 3)

FINE (U.S.S.G. § SE1.2)

a. Fines for Individual Defendants

The court must impose a fine unless “the defendant establishes that he [or she] is unable to pay and is not
likely to become able to pay any fine.” (See U.S.S.G. § 5E1.2(a).) Generally, the fine authorized by the
guidelines is limited to the range established in the Fine Table. (See U.S.S.G. § 5E1.2(b).) However, there
are exceptions to this general rule. (See U.S.S.G. § 5E1.2(b), (c)(4).)

b. Fine Range from Fine Table (U.S.S.G. § 5E1.2(c)(3))

Minimum Fine Maximum Fine

$___ $250 $___ $5,000

SPECIAL ASSESSMENT(S) (U.S.S.G. § 5E1.3)

The court must impose a special assessment on every count of conviction, The special assessments for individual
defendants are

$100.00 for every count charging a felony ($50.00 if the offense was completed before April 24, 1996)
$ 25.00 for every count charging a Class A misdemeanor,

$ 10.00 for every count charging a Class B misdemeanor, and

$ 5.00 for every count charging a Class C misdemeanor or an infraction.

The defendant must pay a special assessment or special assessments in the total amount of $ $100

ADDITIONAL APPLICABLE GUIDELINES, POLICY STATEMENTS, AND STATUTES

List any additional applicable guideline, policy statement, or statute.

UPWARD OR DOWNWARD DEPARTURE (U.S.S.G. ch. 5, pts. H & K)

List any applicable aggravating or mitigating circumstance that might support a term of imprisonment above or
below the applicable guideline range. See above

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